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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 WILHY HARPO-BROWN,

          Plaintiff,

 v.                                            CIVIL ACTION FILE NO.

 CITY OF ATLANTA, et al.,                      1:19-cv-1220-WMR

          Defendants.


                                      ORDER

      This matter is before the Court on Plaintiff Wilhy Harpo-Brown’s

application for leave to proceed in forma pauperis (“IFP”) in his lawsuit against

the City of Atlanta, the Atlanta Police Department, several APD officers, his former

landlord, and a lock smith working for his former landlord. [Docs. 1, 1-1.]

      Although Harpo appears to be indigent for purposes of proceeding IFP, he is

subject to a previous District Court order requiring him “to disclose his full

litigation history in any . . . [IFP] affidavit that he files.”1 See Williams v. Harpo,



      1
         Although this requirement first was imposed when Harpo was incarcerated
and filing prisoner lawsuits, see Harpo v. City of Atlanta, No. 1:14-cv-2157-WSD,
Doc. 2 at 1-2, the District Court continues to require Harpo to disclose his litigation
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No. 1:16-cv-1225-WSD, Doc. 2 at 2. (internal quotation marks omitted). Moreover,

Harpo is well aware that he is required to disclose his litigation history, as he has

done so in previous cases—indeed, he did so just last week. See e.g., Broadstone

Maple, LLC v. Onna, No. 1:16-cv-1661-WSD, Doc. 2-1; see also e.g., Harpo v.

The Connor Group, LLC, No. 1:19-cv-1130-WMR, Doc. 1-3. He has also had

previous cases dismissed for his failure to comply with the District Court’s

requirement. See Williams, No. 1:16-cv-1225-WSD, Doc. 2 at 4; see also Harpo

v. McDonald’s, No. 1:17-cv-3324-WSD, Doc. 4. Accordingly, it is clear to the

undersigned that Harpo is on notice that he must disclose his litigation history

whenever he files an IFP application. Nevertheless, Harpo has failed to do so in

this case, 2 and his IFP application therefore is inadequate because it does not




history, regardless of whether he is incarcerated, see, e.g., Harpo v. City of Atlanta,
No. 1:16-cv-1067, Doc. 8 at 3.
      2
         Plaintiff’s subsequently filed Motion to Proceed Upon Partial Payment of
Filing Fee attaches what appears to be the first two pages of results from a Google
web search of “wilhy harpo federal cases.” [See Doc. 2-1 at 3-4.] Because it is
clear that these results fail to capture even a significant subset of Plaintiff’s
litigation history, Plaintiff’s attachment also fails to meet the District Court’s
requirements that he disclose his full litigation history.
                                          2
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conform to the District Court’s requirements. As a result, his application for IFP

status is DENIED WITHOUT PREJUDICE.3

      IT IS SO ORDERED this 21st day of March, 2019.



                                     ____________________________________
                                     JOHN K. LARKINS III
                                     United States Magistrate Judge




      3
         Plaintiff’s Motion to Proceed Upon Partial Payment of Filing Fee does not
change this result. [Doc. 2.] That Plaintiff may be able to pay a fraction of the
Court’s filing fee using a personal loan does not render him any less indigent under
28 U.S.C. § 1915, since Plaintiff still requests that the Court waive the vast majority
of the filing fee due to his inability to pay the costs of litigation and still provide
for himself. “[A] litigant whose filing fees and court costs are assumed by the
public . . . lacks an economic incentive to refrain from filing frivolous, malicious,
or repetitive lawsuits.” Neitzke v. Williams, 490 U.S. 319, 324 (1989). As a result,
the Court must still “deploy appropriate scrutiny.” Kareem v. Home Source Rental,
986 F. Supp. 2d 1345, 1346 (S.D. Ga. 2013) (collecting cases).
                                          3
